                  Case 4:07-cv-05944-JST Document 2518-4 Filed 04/02/14 Page 1 of 4



AO 88A (Rev. 12/13) Dagvaarding om te getuigen in een burgerlijke rechtsvordering



UNITED STATES DISTRICT COURT, ARRONDISSEMENTSRECHTBANK VAN DE
                         VERENIGDE STATEN
                                                                                                   voor het
                                                                            noordelijk district van Californië

UNITED STATES DISTRICT COURT, ARRONDISSEMENTSRECHTBANK VAN DE VERENIGDE
STATEN                                                                                                                                                             1
             DAGVAARDING OM TE GETUIGEN IN EEN BURGERLIJKE RECHTSVORDERING                                                                                         1
        3-4 juni 2014 om 9.00 uur                                                                                                                                  1
             Bericht aan de persoon die deze dagvaarding uitvaardigt of
             verzoekt                                                                                                                                              1

                                   DAGVAARDING OM TE GETUIGEN IN EEN BURGERLIJKE RECHTSVORDERING

Aan:                                                                                                LEO MINK

      ____________________________________________________________________________________________

                                                              (Naam van de persoon aan wie deze dagvaarding is gericht)

           [V] Getuigenis: U WORDT BEVOLEN op de onderstaande tijd, datum en plaats te verschijnen om een
getuigenverklaring aft e leggen die dient te worden afgenomen in een burgerlijke rechtsvordering. Als u een organisatie bent,
moet u een of meer functionarissen, directeuren of managing agents hiervoor aanstellen, of andere personen hiervoor aanstellen
die erin toestemmen namens u te getuigen over de volgende kwesties, of de kwesties die worden uiteengezet in een bijlage:


    De Brauw Blackstone, Westbroek-N.V.                                                                                     Datum en tijd:
    Plaats. 1070 AB Amsterdam, Claude Debussylaan 80
           Nederland                                                                                                        3-4 juni 2014 om 9.00 uur

            De getuigenverklaring wordt als volgt opgenomen: videografie en stenografie.

            [ ] Levering: U, of uw vertegenwoordigers, moet/moeten naar de getuigenverklaring tevens de volgende documenten,
            elektronisch opgeslagen informatie, of objecten meenemen, en toestemming geven tot inspectie, kopiëren, testen of
            steekproeftrekking van het materiaal:
                          Niets. Dit is een dagvaarding voor alleen mondelinge ondervraging



         De volgende bepalingen van Fed. R. Civ. P. (Federal Rules of Civil Procedure, de federale Bepalingen van burgerlijke
rechtsvordering) 45 zijn bijgevoegd - Bepaling 45(c), betreffende de ruimte van naleving; Bepaling 45(d), betreffende uw
bescherming als persoon die wordt gedagvaard; en Bepaling 45(e) en (g), betreffende uw plicht om te beantwoorden aan deze
dagvaarding en de mogelijke consequenties als u dit niet doet.

Datum:
                                        GRIFFIER VAN DE RECHTBANK
                                                                                                                              OF    [handtekening]
                                                _____________________________________________________________________   -
                                                Handtekening van de griffier of waarnemende griffier                                Handtekening van de advocaat

De naam, het adres, e-mailadres en telefoonnummer van de advocaat die vertegenwoordigt (naam van de partij)
De Staat Californië, et al. ________________________________________ , die deze dagvaarding uitvaardigt of verzoekt, zijn:
Emilio E. Varanini, Deputy Attorney General, Office of the Attorney General, 455 Golden Gate Avenue, Suite 11000, San
Francisco, CA 94102;, Emilio.Varanini@doj.ca.gov, (415) 703-5908

                                  Bericht aan de persoon die deze dagvaarding uitvaardigt of verzoekt
Als deze dagvaarding de levering van documenten, elektronisch opgeslagen informatie of tastbare zaken opdraagt, dienen een
bericht en een kopie van de dagvaarding aan elke partij in deze zaak worden geleverd voordat deze wordt geleverd aan de
                 Case 4:07-cv-05944-JST Document 2518-4 Filed 04/02/14 Page 2 of 4




 AO 88A (Rev. 12/13 Dagvaarding om te getuigen in een burgerlijke rechtsvordering (pagina 2)


persoon aan wie deze is gericht. Fed. R. Civ. P. 45(a)(4).
                   Case 4:07-cv-05944-JST Document 2518-4 Filed 04/02/14 Page 3 of 4




Burgerlijke rechtsvordering nr. 3:07-cv-05944-SC; MDL No. 1917
 AO 88A (Rev. 12/13) Dagvaarding om te getuigen in een burgerlijke rechtsvordering (pagina 3)

BEWIJS VAN LEVERING (Dit gedeelte moet niet in de rechtbank worden bewaard tenzij dit wordt vereist door Fed. R. Civ.
                                                                                     P. 45.)

           Ik heb deze dagvaarding ontvangen voor (naam van individu en titel, indien van toepassing) __________________________________
UNITED STATES DISTRICT COURT, ARRONDISSEMENTSRECHTBANK VAN DE VERENIGDE
STATEN _______________________________________________________________ 1
            DAGVAARDING OM TE GETUIGEN IN EEN BURGERLIJKE RECHTSVORDERING ___ 1
        3-4 juni 2014 om 9.00 uur _________________________________________ 1
            Bericht aan de persoon die deze dagvaarding uitvaardigt of
            verzoekt ________________________________________________________ 1



           Ik verklaar op straffe van meineed dat deze informatie juist is.


Datum:       ________________ __________________________________________________________________________


                                                                                  Gedrukte handtekening van de persoon die de dagvaarding heeft geleverd



                                                                                   Naam en titel




                                                                                  Adres van de persoon die de dagvaarding heeft geleverd


Extra informatie betreffende poging tot levering, etc.:




                                 Federal Rule of Civil Procedure 45 (c), (d), (e), en (g) (van kracht 12/1/13)
 (c) Plaats van naleving.                                                                           (i) een partij of een functionaris van een partij is;
 (1) Voor een proces, verhoor of getuigenverklaring. Een dagvaarding mag                            (ii) wordt bevolen een verhoor bij te wonen en geen aanzienlijke kosten
 een persoon alleen als volgt bevelen een proces, verhoor of                                    oploopt.
 getuigenverklaring bij te wonen                                                                (2) Voor andere inzage van stukken. Een dagvaarding kan bevel geven tot:
 (A)      binnen 100 mijl (160,93 kilometer) van de plaats waar de persoon                      (A)     levering van documenten, elektronisch opgeslagen informatie, of
 verblijft, werkt of regelmatig transacties persoonlijk afhandelt;                              tastbare zaken op een plaats binnen 100 mijl van waar de persoon verblijft,
 (B)      binnen de staat waar de persoon verblijft, werkt of regelmatig                        werkt of regelmatig transacties persoonlijk afhandelt; en
 transacties persoonlijk afhandelt, als de persoon                                              (B)      inspectie van de ruimte in de te inspecteren ruimte.
                  Case 4:07-cv-05944-JST Document 2518-4 Filed 04/02/14 Page 4 of 4




  AO 88A (Rev. 12/13 Dagvaarding om te getuigen in een burgerlijke rechtsvordering (pagina 4)




(d) Bescherming van een persoon aan wie de dagvaarding is gericht;                                                (ii) garandeert dat de gedagvaarde persoon een redelijke compensatie
Handhaving.                                                                                                       krijgt.
(1) Onnodige belasting of kosten vermijden; Sancties. Een partij of
                                                                                                          (e) Taken bij het gehoor geven aan een dagvaarding.
advocaat verantwoordelijk voor de uitvaardiging en levering van een
dagvaarding moet redelijke stappen ondernemen om onnodige belasting of                                    (1) Levering van documenten of elektronisch opgeslagen informatie. Deze
kosten te vermijden voor een persoon aan wie de dagvaarding is gericht. De                                procedures zijn van toepassing op de levering van documenten of elektronisch
rechtbank of het district waar de naleving moet plaatsvinden, moet deze taak                              opgeslagen informatie:
afdwingen en een gepaste sanctie uitdelen – waartoe gemiste inkomsten en                                     (A) Documenten. Een persoon die gehoor geeft aan een dagvaarding om
redelijke vergoedingen voor advocaten kunnen behoren – aan een partij of                                  documenten te leveren, moet deze leveren zoals ze zijn bewaard in het kader
advocaat die hier niet aan voldoet.                                                                       van de normale bedrijfsuitoefening, of moet ze ordenen en etiketteren zodat ze
                                                                                                          overeenkomen met de categorieën in de vordering.
(2) Bevel om materiaal te leveren of inspectie toe te staan.                                                 (B) Vorm van de levering van elektronische informatie Niet gespecificeerd.
(A)      Verschijnen niet vereist. Een persoon die wordt bevolen documenten,                              Als een dagvaarding geen vorm specificeert om elektronisch opgeslagen
elektronisch opgeslagen informatie of tastbare zaken te leveren, of om de                                 informatie te leveren, moet de gehoor gevende persoon deze leveren in een
inspectie van de ruimte toe te staan, hoeft niet persoonlijk te verschijnen op de                         vorm of in vormen waarop het oorspronkelijk is opgeslagen, of in een
plaats van levering of inspectie, tenzij hij ook opdracht heeft gekregen te                               redelijkerwijs bruikbare vorm of vormen.
verschijnen voor een getuigenverklaring, verhoor of proces.                                                  (C) Elektronisch opgeslagen informatie geleverd in slechts één vorm. De
(B)      Bezwaren. Een persoon die de opdracht heeft gekregen documenten of                               reagerende persoon hoeft dezelfde elektronisch opgeslagen informatie niet in
tastbare zaken te leveren, of om inspectie toe te staan, mag de partij of                                 meer dan één vorm te leveren.
toegewezen advocaat in de dagvaarding een schriftelijk bezwaar leveren tegen                                 (D) Ontoegankelijke elektronisch opgeslagen informatie. De gehoor gevende
het inspecteren, kopiëren, testen of de steekproeftrekking van één van de of alle                         persoon hoeft geen inzage van stukken te geven van elektronisch opgeslagen
materialen of de inspectie van de ruimte – of om elektronisch opgeslagen                                  informatie die de persoon niet redelijkerwijs toegankelijk acht vanwege een te
informatie te leveren in de vereiste vorm(en). Het bezwaar moet geleverd zijn                             grote last of te hoge kosten. Bij een verzoek om inzake van stukken of een
vóór de opgegeven tijd voor de naleving of 14 dagen na levering van de                                    conservatoir bevelschrift, moet de gehoor gevende persoon aantonen dat de
dagvaarding. Als er een bezwaar is ingediend, zijn de volgende regels van                                 informatie niet redelijkerwijs toegankelijk is vanwege een te grote last of
toepassing:                                                                                               kostenplaatje. Als dat bewijs is geleverd, kan de rechtbank desalniettemin
     (i) Op elk moment, nadat de persoon aan wie het bevel is gericht, hiervan                            opdracht geven tot inzage van stukken van zulke bronnen als de verzoekende
op de hoogte is gebracht, kan de betekenende partij de rechtbank verplaatsen                              partij geldige redenen hiervoor heeft, waarbij de beperkingen van Bepaling
voor het district waar de naleving is vereist van een bevel dat het tonen of de                           26(b)(2)(C) in acht worden genomen. De rechtbank kan voorwaarden bepalen
inspectie opdraagt.                                                                                       voor de inzage van stukken.
     (ii) Deze handelingen mogen alleen worden vereist zoals wordt
geïnstrueerd in het rechterlijk bevel, en het rechterlijk bevel moet een persoon                          (2) Aanspraak maken op vertrouwelijkheid of bescherming.
beschermen die geen partij noch een functionaris van een partij is van                                    (A) Achtergehouden informatie. Een persoon die informatie achterhoudt
aanzienlijke kosten als gevolg van naleving.                                                              waarom wordt verzocht in een dagvaarding, er aanspraak op makende dat deze
                                                                                                          vertrouwelijk is of beschermd als materiaal in de voorbereiding van een proces,
(3) Een dagvaarding verwerpen of wijzigen.                                                                moet:
(A)     Indien vereist. Bij een tijdig verzoek om een rechterlijke uitspraak moet                            (i) hier uitdrukkelijk aanspraak op maken; en
de rechtbank voor het district waar naleving is vereist, een dagvaarding                                     (ii) de aard van de achtergehouden documenten, communicaties of tastbare
verwerpen of wijzigen die:                                                                                zaken beschrijven op een manier die, zonder de vertrouwelijke of beschermde
                                                                                                          informatie te onthullen, het de partijen mogelijk maakt de aanspraak te
      (i) geen redelijke tijd geeft om eraan te voldoen;                                                  beoordelen.
      (ii) vereist dat een persoon eraan voldoet buiten de geografische grenzen                           (B)     Geleverde informatie. Als informatie die wordt geleverd als reactie op
 die zijn gespecificeerd in Bepaling 45(c);                                                               een dagvaarding het onderwerp is van een aanspraak op vertrouwelijkheid of
      (iii) de onthulling vereist van vertrouwelijke of anderszins beschermd                              bescherming als materiaal ter voorbereiding van een proces, kan de persoon die
 materiaal, als er geen uitzondering of vrijstelling van toepassing is; of                                hier aanspraak op maakt, alle partijen berichten die de informatie hebben
      (iv)en persoon een buitensporige last oplegt.                                                       ontvangen waar het in de aanspraak om gaat en de grondslag ervoor. Na dit
 (B)       Indien toegestaan. Om een persoon aan wie een dagvaarding is bestemd                           bericht moet een partij de gespecificeerde informatie en alle kopieën ervan
 of die erdoor wordt beïnvloed, kan de rechtbank voor het district waar de                                onmiddellijk retourneren, onder sekwester stellen of vernietigen; de partij mag
 naleving is vereist, bij een verzoek om rechterlijke uitspraak de dagvaarding                            de informatie niet gebruiken of onthullen totdat er een beslissing is genomen
 verwerpen of wijzigen als deze het volgende vereist:                                                     omtrent de aanspraak; moet redelijke stappen ondernemen om de informatie
      (i) onthulling van een handelsgeheim of ander vertrouwelijk(e) onderzoek,                           terug te halen als de partij deze heeft onthuld vóórdat het bericht is ontvangen;
ontwikkeling of commerciële informatie; of                                                                en kan de informatie onmiddellijk verzegeld overhandigen aan de rechtbank
      (ii) onthulling van de mening van een niet ingehuurde deskundige, of                                voor het district waar naleving is vereist voor een uitspraak over de aanspraak.
informatie die geen specifieke gebeurtenissen beschrijft waar het in dit                                  De persoon die de informatie heeft geleverd, moet de informatie behouden
geschil om gaan, en resultaten uit het deskundigenonderzoek dat niet is                                   totdat er een beslissing is genomen over de aanspraak.
aangevraagd door een partij.
    (C) Specificatie van omstandigheden als alternatief. In de                                            (g) Minachting.
omstandigheden die worden beschreven in Bepaling 45(d)(3)(B) kan de                                       De rechtbank voor het district waar naleving is vereist – en ook, nadat een
rechtbank, in plaats van een dagvaarding te verwerpen of aan te passen,                                   verzoek tot rechterlijke uitspraak is overgebracht, de afgevende rechtbank – kan
opdracht geven tot verschijning of levering onder speciale omstandigheden                                 een persoon die, na de dagvaarding ontvangen te hebben, zonder passend
indien de betekenende partij:                                                                             excuus geen gehoor geeft aan de dagvaarding of een beschikking die ermee te
      (i) wezenlijk behoefte heeft aan het getuigenis of materiaal en er niet aan                         maken heeft, straffen wegens minachting.
deze behoefte kan worden voldaan zonder onbillijke gevolgen;


                                             Zie voor toegang tot materiaal betreffende dagvaarding Fed. R. Civ. P. 45(a) Committee Note (2013).
